                     UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION


MUHAMMED BAZZI,                        )
             Plaintiff,                )
                                       )            JUDGMENT
v.                                     )
                                       )            No. 5:11-CV-353-H
PA NDERRY MBAI, FREEDOM                )
NEWSPAPER, INC. and JOHN DOE           )
               Defendants.             )



Decision by Court.
This case came before the Honorable Malcolm J. Howard, Senior United States
District Judge for consideration.

IT IS ORDERED, ADJUDGED AND DECREED the court grants the defendants’
Motion to Dismiss and this case is dismissed with prejudice. The plaintiff shall
have and recover nothing from the defendants.




This Judgment Filed and Entered on March 7, 2014, with service on:
Edward Hallett Maginnis   (via CM/ECF Notice of Electronic Filing)
Douglas W. Kenyon         (via CM/ECF Notice of Electronic Filing)
R. Dennis Fairbanks       (via CM/ECF Notice of Electronic Filing)
Sean Michael Braswell     (via CM/ECF Notice of Electronic Filing)


March 7, 2014                                JULIE A. RICHARDS, CLERK
                                             /s/ Lisa W. Lee
                                             (By): Lisa W. Lee, Deputy Clerk




        Case 5:11-cv-00353-H Document 45 Filed 03/07/14 Page 1 of 1
